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IN THE UNITED SIAIES BANKRUPICY COURT

FOR THE DISTRICT OF DELAWARE
Tn re: )
) Chapter 11
WR. Grace & Co., et al.! )
) Case No. 01-1139
Debtors ) (Jointly Administered)
)

AFFIDAVIT UNDER 11 U.8,C, 327(c)

COMMON WEALIH OF MASSACHUSETT $)
)
COUNTY OF MIDDLESEX )
Sean T. Carnathan, being duly sworn, upon his oath, deposes and says:
1. I am a member of Quigley, O'Connor & Camathan LLC, located at 8 New

England Executive Park, Suite 310, Burlington, MA 01803 (the “Firm”).

’ The Debtors consist of the following 62 entities; W, R. Grace & Co (#W/a Grace Specialty Chemicals,
Inc ), W, R. Grace & Co. — Conn., A-l Bit & Tool Co, Inc , Alewife Boston, Ltd. Alewife Land

Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc,, Five Alewife Boston, Ltd, GC.
Limited Parmers 1, Inc. (£k/a Grace Cocoa Limited Parmers I, Inc.), G.C Management, Ino. (f/k/a Grace

Management, Inc., R&C Liquidating Corp., Emerson & Cuming, Inc.}, Southam OU, Resin & Fiberglass,
Inc , Wate: Street Corporation, Axial Basin Ranch Company, CC Partners (#’k/a Cross Country Staffing),

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2. The Debtors have requested that the Finn provide legal services to the
Debtors, and the Firm as consented to provide such services.

3. The Fitm may have performed servicea in the past and may perform
seivices in the future, in matters unrelated to these chapter 11 cases, for persons that are
patties-in-interest in the Debtors’ chapter 11 cases,

4, As part of its customary practice, the Firm is retained in cases,
proceedings and transactions involving many different parties, some of whom may
represent or be employed by the Debtors, claimants and parties-in-interest in these
chapter 11 cases. The Firm does not perform services for any such person in connection
with these chaptet 11 cases, or have any relationship with any such person, their attorneys
or accountants that would be adverse to the Debtors or thelr estates.

5. Neither I nor any princfpal of or professional ernployed by the Firm has
agreed to share or will share any portion of the compensation to be received fiom the
Debtors with any other person other than the ptincipals and regular employees of the
Firm,

6. Neither I nor any principal of or professional employed by the Fim,
insofar as I have been able to ascertain, holds ot represents any interest adverse to the
Debtors or theiz estates.

7, The Debtors owe the Firm $0 for prepetition services,

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8. The Firm Is conducting further inquiries regarding its retention by any
creditors of the Debtors, and upon conclusion of that inquiry, or at any time during the
period of its employment, if the Firm should discover any facts bearing on the matters
described herein, the Firm will supplement the information contained in this Affidavit.

Executed on May | } » 2005

QUIGLEY, O'CONNOR & CARNATHAN LLC
8 New England Executive Park, Suite 310
Burlington, MA 01803

(781) 35

By. a

Se an, Me

Sworn to and subscribed before me
this 7 day of May, 2005

wa fs ‘
* , Notary Public
‘. My Commission expires: %/- 1O

